     Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 1 of 40




                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

OLIVER LUCK,                          :   CASE NO. 3:20-cv-00516-VAB
                                      :
                Plaintiff,            :
v.                                    :
                                      :
VINCENT K. MCMAHON and ALPHA          :
ENTERTAINMENT LLC,                    :
                                      :
                Defendants.           :   JANUARY 8, 2021



     DEFENDANTS’ MEMORANDUM REGARDING DISCOVERY DISPUTES
             Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 2 of 40




                                                    TABLE OF CONTENTS

                                                                                                                                            Page

PRELIMINARY STATEMENT .................................................................................................... 5
ARGUMENT .................................................................................................................................. 8
      I.         The Proper Scope of Discovery ................................................................................... 9
                 A.         This Court’s Prior Decision ............................................................................. 9
                 B.         Luck’s Employment Contract .......................................................................... 9
                 C.         Grounds for Luck’s Termination for Cause................................................... 10
      II.        Discovery Regarding Luck’s Violation of XFL Policy and McMahon’s
                 Directives by Hiring Antonio Callaway. ................................................................... 11
                 A.         Circumstances Constituting Cause ................................................................ 11
                 B.         Defendants’ Response to Luck’s Discovery Requests .................................. 12
                 C.         The Full Contents of Alpha’s Phone Are Central to this Issue...................... 13
      II.        Discovery Regarding Luck’s Failure to Follow McMahon’s Directive to
                 Terminate Antonio Callaway..................................................................................... 13
                 A.         Circumstances Constituting Cause ................................................................ 13
                 B.         Defendants’ Response to Luck’s Discovery Requests .................................. 14
                 C.         The Full Contents of Alpha’s Phone Are Central to this Issue...................... 14
      III.       Discovery Regarding Luck’s Violations of the XFL Technology Policies ............... 14
                 A.         Circumstances Constituting Cause ................................................................ 14
                 B.         Defendants’ Response to Luck’s Discovery Requests .................................. 15
                 C.         The Full Contents of Alpha’s Phone Are Central to this Issue...................... 16
                 D.         Luck’s Arguments for Preventing Defendants from Accessing and
                            Reviewing the Full Contents of Alpha’s iPhone Lack Merit. ....................... 22
                            1.          Luck’s Proposed Stipulation Is Insufficient ...................................... 22
                            2.          Luck’s Production of Selective Contents from Alpha’s iPhone is
                                        Insufficient ......................................................................................... 23
                            3.          Luck Has No Privilege or Privacy Interest in the Contents of
                                        Alpha’s iPhone................................................................................... 24
                            4.          Luck’s Argument Regarding Notice and Cure Is Improper .............. 27
                            5.          Luck’s Contract Interpretation Arguments Are Improper ................. 29
      IV.        Discovery Regarding Luck’s Gross Neglect of His Duties After March 13,
                 2020 ........................................................................................................................... 30
                 A.         Circumstances Constituting Cause ................................................................ 30
                 B.         Defendants’ Response to Luck’s Discovery Requests .................................. 30


                                                                       -i-
            Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 3 of 40




                 C.        The Full Contents of Alpha’s Phone Are Central to this Issue...................... 31
      IV.        Luck’s Discovery Requests Seek Disclosure of Irrelevant Information and
                 Would Impose Undue Burden and Expense on Defendants ...................................... 31
                 A.        Documents Regarding Luck Unrelated To The Bases For His
                           Termination.................................................................................................... 32
                 B.        Documents Regarding The Actions of McMahon and Other XFL
                           Employees...................................................................................................... 33
                 C.        Documents Regarding WWE ........................................................................ 36
                 D.        Documents Regarding the XFL’s Financial Performance ............................. 37
CONCLUSION ............................................................................................................................. 38




                                                                   -ii-
           Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 4 of 40




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Bernhard-Thomas Building Sys, LLC v. Weitz Co., LLC,
   No. 3:04-CV-1317, 2011 WL 3586061 (D. Conn. Aug. 16, 2011) .........................................28

Bullard v. Wastequip Manufacturing Co. LLC,
   No. CV1401309, 2015 WL 12766467 (C.D. Cal. Apr. 14, 2015) ...........................................34

EEOC v. Abercrombie & Fitch Stores, Inc.,
  575 U.S. 768 (2015) .................................................................................................................26

ESPN, Inc. v. Office of Comm'r of Baseball,
   76 F. Supp. 2d 383, 409 (S.D.N.Y. 1999) ...............................................................................18

Grand Light & Supply Co. v. Honeywell, Inc.,
   771 F.2d 672 (2d Cir. 1985).....................................................................................................27

Hernandez v. Saybrook Buick GMC, Inc.,
   No. 3:20-CV-00438, 2020 WL 7137417 (D. Conn. Dec. 4, 2020) ........................................26

Hybrid Athletics, LLC v. Hylete, Inc.,
   No. 3:17-CV-1767, 2019 WL 6317953 (D. Conn. Nov. 26, 2019) ..................................20, 21

Learning Care Grp, Inc. v. Armetta,
   315 F.R.D. 433 (D. Conn. 2016) .............................................................................................21

Luttinger v. Rosen,
    164 Conn. 45 (1972) ................................................................................................................28

Major Oldsmobile, Inc. v. General Motors Corp.,
   No. 95-7595, 1996 WL 280452 (2d Cir. May 17, 1996) .........................................................34

NCA Investors Liquidated Trust v. Dimenna,
  No. 3:16-CV-156, 2019 WL 2720746 (D. Conn. June 27, 2019) ..........................................21

Rissetto v. Clinton Essex Warren Washington Board of Cooperative
    Educational Services,
    No. 8:15-CV-720, 2018 WL 3579862 (N.D.N.Y. Jul. 25, 2018) ............................................25

Saluja v. Local 1199 United Healthcare Workers East,
   No. CV 06-5051, 2007 WL 3232475 (E.D.N.Y. Nov. 1, 2007) ..............................................34

Semac Electric Co. v. Skanska USA Building Inc.,
   195 Conn. App. 695 (2020) ...............................................................................................27, 28

                                                                  -iii-
            Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 5 of 40




Terán v. Mutual Security Credit Union,
   No. 3:16-CV-00466, 2017 WL 11477128 (D. Conn. Sept. 29, 2017) ....................................25

Thomas E. Hoar, Inc. v. Sara Lee Corp.,
164 F.3d 619 (2d Cir. 1998) ..........................................................................................................35

Wells Fargo Bank, N.A.Trustee v. Konover,
   No. 3:05-CV-1924, 2010 WL 11561491 (D. Conn. June 22, 2010) .......................................20

WHS Sales Corp. v. Cinmar, L.P.,
  No. 06 CIV. 1938, 2007 WL 486603 (S.D.N.Y. Feb. 13, 2007) .............................................27

Statutes

Conn. Gen. Stat. § 31-40x..............................................................................................................26

Rules

Fed. R. Civ. P. 26 ...........................................................................................................................31

Fed. R. Civ. P. 34 ...........................................................................................................................23

Fed. R. Civ. P. 34, Advisory Committee Notes, 2015 Amendment ..............................................13

Fed. R. Civ. P. 37 .............................................................................................................................8




                                                                     -iv-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 6 of 40




       Pursuant to the Court’s Order entered on December 17, 2020 (ECF. No. 111), Defendants

Vincent K. McMahon (“McMahon”) and Alpha Entertainment LLC (“Alpha”) (collectively,

“Defendants”) respectfully submit this memorandum regarding discovery disputes in advance of

the discovery conference scheduled for January 12, 2020.

                                PRELIMINARY STATEMENT

       This is a simple case. Oliver Luck (“Luck”) had a contract to serve as the CEO and

Commissioner of the XFL, a spring football league conceived and financed largely by McMahon.

Under that contract, Luck received an annual salary of $5 million and, if still employed on June

20 of each year, a bonus of $2 million. Luck’s contract obligated him to devote substantially all

of his business time to the performance of his duties to the XFL and to follow any applicable XFL

policies or directives. Under his contract, Luck agreed that he could be terminated at any time

with or without cause. If terminated with cause, Luck was entitled only to previously accrued

salary and any vested employee benefits. Significantly, even if terminated without cause, Luck’s

right to any severance payments, including the aggregate amount of base salary and annual bonus

otherwise payable, was expressly contingent upon several conditions, including “the absence of

circumstances that would constitute Cause.” (ECF No. 94-1 at 3-4.)

       In the midst of the XFL’s inaugural season, the COVID pandemic caused the cancellation

of the league’s schedule and eliminated its major sources of revenue—ticket sales and merchandise

sales at games. Despite this sudden loss of revenue, Alpha remained responsible to pay the

continued costs of operation, including player and coach salaries, stadium lease costs, and the

substantial monies to Luck to guide the XFL through the crisis and the threat to its very existence.

       On March 13, 2020, Luck, however, left town and went home without ever advising

McMahon that he was doing so and never returned in the ensuing weeks when McMahon and other
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 7 of 40




staff members dealt with the crisis and attempted to determine if there was a viable path forward

for the league. Luck did not even make a single phone call to McMahon during this period, did

not attend conference calls on pressing XFL business matters, and otherwise largely disengaged

from the XFL. The evidence and documents produced by Defendants will show that Luck instead

used his Alpha-issued phone to conduct business with other entities in violation of his contract and

XFL policy instead of performing his XFL duties.          Indeed, Luck granted interviews with

newspapers in West Virginia during this period telling them he did not have much to do and was

spending his time taking long bike rides. (Ex. 1.)

       Luck’s actions during this crisis compounded dissatisfaction with the performance of his

contract at the onset of the season when Luck consistently ignored the XFL’s policy and

McMahon’s plain directives not to sign players with bad reputations because of drug histories,

sexual assaults, criminal arrests, and other misconduct. Contrary to filings Luck has made with

this Court, Luck was acutely aware of this XFL policy, which McMahon regarded as central to

building a brand of quality players with good character who could be marketed to the public.

Defendants will produce reams of information showing that Luck knew of this policy and that

McMahon specifically told him not to sign several players with bad reputations before Luck once

again not only ignored those directives but agreed to pay Antonio Callaway a large signing bonus.

Defendants will produce all documents regarding Luck’s failure to comply with these directives,

including documents proving that he deliberately misled McMahon by not telling him specific

information that had been brought to Luck’s attention about Callaway’s history by other executives

who knew that Callaway did not qualify to be hired under the XFL’s policy. When McMahon was

shown a news article which reported on the league hiring Callaway, he specifically told Luck to

terminate Callaway immediately. In an initial declaration filed with this Court that was misleading



                                                -6-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 8 of 40




in multiple material respects, Luck admitted that McMahon gave him this instruction and falsely

suggested that he carried out McMahon’s instruction. In a more recent declaration in support of

his renewed prejudgment remedy application, Luck changed his story by yet another false version

of events to conceal his failure to follow McMahon’s directives. Defendants will produce all

records in their possession proving that Luck did not carry out that directive and the severe

financial consequences of that failure for Alpha.

       As a result, Alpha exercised its unqualified right to terminate Luck’s contract and did so

prior to the date a $2 million bonus payment otherwise would have been due. On April 9, 2020,

Alpha sent Luck a letter advising him that the termination was for cause, and although not required

to do so, provided Luck with what was expressly stated to be a non-exhaustive list of reasons

constituting cause.

       In the termination letter, Alpha also demanded that Luck return a company owned and

issued iPhone. Luck refused to do so and has since admitted that he continued to use the phone

for obvious non-XFL business purposes in violation of the very XFL technology policies that he

promulgated, while affirmatively concealing the contents of the phone from Defendants. In

furtherance of his deceptive behavior, Luck (who has a law degree), through his counsel,

continuously represented to Defendants’ counsel, Alpha’s bankruptcy counsel, and this Court that

no data had been deleted from the phone after being terminated. After this Court required those

representations to be set forth in a spoliation stipulation, Luck only recently admitted that data had

in fact been deleted from the phone after months of representations that all data had been preserved.

Thus, Luck has now admitted destruction of the very evidence showing non-XFL business use of

the phone, an independent reason constituting cause, yet he continues to conceal the full nature

and extent of his violations of the policies regarding the use of that phone.



                                                 -7-
           Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 9 of 40




       Accordingly, once the simple nature of this case is understood, Luck must show that the

above actions do not constitute “cause” as defined in his contract. In a case where the issue is

whether Luck committed acts constituting cause, the focal point of the case and discovery must be

on Luck’s actions and his actions alone. Because focus on those facts does not favor Luck, he has

attempted to create a punitive discovery burden on Defendants and a non-party, World Wrestling

Entertainment, Inc. (“WWE”), about irrelevant matters to distract attention from his acts and to

make this case very expensive to litigate. Defendants therefore ask the Court to confine discovery

within its proper bounds and on the narrow and specific acts of Luck that Defendants contend were

and are “cause” under his contract.

                                           ARGUMENT

       Defendants request that the Court overrule Luck’s objections to Defendants’ discovery

requests seeking the passcode and access to the full contents of Alpha’s iPhone so that they can

conduct a forensic review and examination of those contents. (Ex. 2, Alpha’s IROG 1; Ex. 3,

McMahon’s IROG 1; Ex. 4, Alpha’s RFPs 1-2; Ex. 5, McMahon’s RFPs 1-2.) As explained in

detail below, the full contents of Alpha’s iPhone are essential to establishing each of the

circumstances constituting cause for Luck’s termination.1

       Defendants further request that the Court sustain their objections to Luck’s improper

discovery requests seeking (i) all documents concerning Luck regardless of whether they relate to




       1
          Defendants reserve the right to later challenge Luck’s objections to Defendants’ other
discovery requests, including his failure to admit matters that are undisputed based on documents
available to Luck (see, e.g., Ex. 6, Alpha’s RFAs 9-12, 54-56, 62-66), and to seek fees and
expenses for proving such matters to be true. See Fed. R. Civ. P. 37(c)(2) (“If a party fails to admit
what is requested under Rule 36 and if the requesting party later proves a document to be genuine
or the matter true, the requesting party may move that the party who failed to admit pay the
reasonable expenses, including attorney's fees, incurred in making that proof.”).


                                                 -8-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 10 of 40




the bases for his termination, (ii) documents regarding the activities of McMahon and other XFL

executives, (iii) documents regarding WWE—a non-party to this litigation, and (iv) documents

regarding Alpha’s financial condition. As explained in detail below, such requests are irrelevant

because they do not relate to the grounds for Luck’s termination at issue in this case and would

impose a wholly unnecessary and expensive discovery burden on Defendants that is not

proportional to the needs of the case.

I.     The Proper Scope of Discovery

       The scope of discovery in this action is defined by whether there is “an absence of

circumstances that would constitute Cause” under Luck’s contract. (ECF No. 94-1 at 3-4.)

       A.      This Court’s Prior Decision

       This Court held in its prior decision that Alpha was an indispensable party in this action

and that, to prevail against McMahon, Luck “would have to establish that Alpha still had an

obligation to him and breached that obligation under the Employment Contract.” (ECF No. 79 at

13.) The Court therefore concluded that “the issue of whether Alpha validly terminated Mr. Luck

for cause under the Employment Contract, to which the Guaranty applies, must be resolved.”

(Id. at 14 (emphasis added).) Accordingly, this Court has already recognized that the central focus

of this case is on whether Alpha had cause to terminate Luck under the Employment Contract.

The fact that Luck’s right to any additional monies under that contract is also expressly conditioned

on the absence of circumstances constituting cause only reinforces that decision.

       B.      Luck’s Employment Contract

       On May 30, 2018, Luck entered into the Employment Contract with Alpha.                   The

Employment Contract provided that Luck was to serve as the “Commissioner and CEO” of a new

professional football league known as the XFL and was responsible for “all football and business-



                                                -9-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 11 of 40




related operations” of the XFL. (ECF No. 94-1 at 1.) The Employment Contract required Luck

to “devote substantially all of his business time to the performance of his duties to the XFL” and

provided that his other activities must “not interfere with the performance of his duties to the

XFL.” (Id. (emphasis added).) The Employment Contract provided that, in exchange for the

performance of Luck’s obligations, Alpha would pay Luck a Base Salary of $5 million per Contract

Year and a “Guaranteed Annual Bonus” of $2 million if he remained employed “on the last day of

each Contract Year,” which was June 30 of each year. (Id. at 2.)

       The Employment Contract provided that Luck’s employment “may be terminated by Alpha

at any time, with or without cause.” (Id. at 3 (emphasis added).) It provided that Alpha had

“Cause” to terminate Luck’s employment for several reasons, including Luck’s “gross negligence

of his duties (other than due to illness or disability), including an intentional failure to follow any

applicable XFL policies or directives.” (Id. (emphasis added.)) The Employment Contract stated

that Alpha was not required to provide Luck with prior written notice or an opportunity to cure

prior to his termination “[i]f the act or omission that would otherwise constitute Cause hereunder

is not reasonably susceptible to cure.” (Id.) Moreover, the contract expressly conditioned the

receipt of additional payments by Luck following any termination on “the absence of

circumstances that would constitute Cause” with no qualifier as to whether the circumstances

constituting cause were susceptible to cure. (Id. at 3-4 (emphasis added).)

       C.      Grounds for Luck’s Termination for Cause

       On April 9, 2020, Alpha sent Luck a letter notifying him that his Employment Contract

was being “terminated, effectively immediately, for cause.” (ECF No. 94-1 at 2.) The termination

letter stated that it “is not intended to be, nor is it, an exhaustive and comprehensive statement of

all facts justifying Alpha’s decision to terminate your contract for cause. Should you decide to



                                                 -10-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 12 of 40




challenge or contest this termination as lacking cause, we reserve all rights to offer all evidence

demonstrating cause to terminate.” (Id.)

       Defendants contend in this action that Alpha had cause to terminate Luck for the following

reasons: (i) Luck violated the XFL’s player personnel policy and McMahon’s directives by hiring

Antonio Callaway in the first place; (ii) Luck disregarded McMahon’s directives by failing to

immediately terminate Antonio Callaway; (iii) Luck repeatedly violated the XFL’s technology

policies; and (iv) Luck grossly neglected the performance of his duties after March 13, 2020. The

same actions also form the basis for Alpha’s counterclaims against Luck. (ECF No. 126.)

Accordingly, these actions necessarily frame the proper scope of discovery in this case.2

       As described below, Defendants have agreed to produce all documents in their possession

regarding each of these circumstances constituting cause for termination. Luck, however, has

attempted to block essential discovery regarding these circumstances by seeking to prevent

Defendants from accessing the full contents of Alpha’s own iPhone.

II.    Discovery Regarding Luck’s Violation of XFL Policy and McMahon’s Directives by
       Hiring Antonio Callaway.

       A.      Circumstances Constituting Cause

       Alpha properly terminated Luck for cause for violating the XFL’s player personnel policy

and McMahon’s directives by hiring Antonio Callaway. XFL policy required background checks

for all potential players in the league and McMahon’s approval to hire any players who had bad

reputations due to questionable or problematic backgrounds—a policy that was critically important

to the development of the XFL’s brand. Luck acknowledged this policy in his own public



       2
           Given that Luck has already admitted using his Alpha-issued phone for reasons
prohibited by XFL policies he promulgated and continues to conceal the full nature and extent of
his violations, it is virtually certain that forensic examination of that phone will supplement
existing grounds for cause and demonstrate additional cause.

                                               -11-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 13 of 40




statements. Luck also has now admitted that when he sought to hire players with a history of drug

problems or sexual assault allegations and disclosed those issues to McMahon, McMahon

instructed Luck not to hire them because they did not meet the XFL’s policy. (Ex. 6, Alpha’s

RFAs 6, 7-18.) Nevertheless, Luck proceeded to hire Antonio Callaway, a player that Luck knew

had a lengthy history of similar misconduct, while affirmatively concealing that history from

McMahon in violation of the XFL’s policy. Indeed, Luck has admitted that he never disclosed

Callaway’s history of drug problems and sexual assault allegations to McMahon when he advised

McMahon that he had hired Callaway. (Ex. 6, Alpha’s RFAs 24-26, 38-30.) Luck also misled

other XFL executives who questioned Luck’s decision to hire Callaway into believing that he had

told McMahon about Callaway’s history.3

       B.      Defendants’ Response to Luck’s Discovery Requests

       Defendants have agreed to produce all non-privileged documents found after a reasonable

search regarding Luck’s failure to comply with the XFL player personnel policy and McMahon’s

directives by hiring Antonio Callaway. Specifically, Defendants will produce:

      All documents regarding the XFL’s policy not to hire players with bad reputations
       due to questionable or problematic backgrounds.

      All documents showing Luck’s knowledge of the XFL’s player personnel policy
       (including Luck’s knowledge that the XFL policy for hiring players was not limited
       to the criteria for disqualification set forth in his declarations filed with the Court).

      All documents showing Luck’s knowledge that Antonio Callaway did not meet the
       XFL’s player personnel policy (including Luck’s knowledge of Callaway’s history
       of misconduct and McMahon’s instructions to Luck not sign other players with
       similar allegations misconduct against them).

      All documents showing Luck’s hiring of Antonio Callaway in violation of the
       XFL’s policy and McMahon’s directives (including Luck’s failure to disclose to

       3
         A more plenary display of the actual evidence on these issues is contained in the Alpha’s
application for a prejudgment remedy. (ECF No. 128.)


                                                 -12-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 14 of 40




       McMahon Callaway’s lengthy history of misconduct before hiring him and Luck’s
       misleading of XFL executives who questioned Luck’s decision).

Defendants therefore have agreed to produce all documents in their possession relating to the

circumstances constituting cause for Luck’s termination on this ground.4

       C.      The Full Contents of Alpha’s Phone Are Central to this Issue

       Examination of the full contents of Alpha’s iPhone is central to this ground for termination

because the phone is likely to contain text messages and additional evidence showing Luck’s

knowledge of the XFL’s policy and hiring of Antonio Callaway in violation of the policy.

II.    Discovery Regarding Luck’s Failure to Follow McMahon’s Directive to Terminate
       Antonio Callaway

       A.      Circumstances Constituting Cause

       Alpha properly terminated Luck for cause for disregarding McMahon’s directives by

failing to immediately terminate Antonio Callaway. Although Luck’s declarations filed with this

Court are false and misleading in material respects, Luck admits that McMahon directed him to

terminate Callaway and that he did not terminate Callaway before Callaway suffered a knee injury

in practice. (ECF No. 59 ¶ 14; ECF No. 116 ¶ 14.) Luck’s failure to follow McMahon’s directive

caused damages to Alpha because it required Alpha to honor Callaway’s contract, including

payment of a $125,000 signing bonus, and to pay for Callaway’s medical expenses.




       4
          Defendants’ responses to Luck’s requests for production fully complied with Rule 34 by
specifically stating the limits that have controlled their search for relevant and responsive
materials. See Fed. R. Civ. P. 34, Advisory Committee Notes, 2015 Amendment (“An objection
that states the limits that have controlled the search for responsive and relevant materials qualifies
as a statement that the materials have been ‘withheld.”).


                                                -13-
           Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 15 of 40




           B.     Defendants’ Response to Luck’s Discovery Requests

           Defendants have agreed to produce all non-privileged documents found after a reasonable

search regarding Luck’s failure to follow McMahon’s directive to immediately terminate Antonio

Callaway. Specifically, Defendants will produce:

          All documents and communications regarding Antonio Callaway.

          All documents regarding the damages caused by Luck’s failure to promptly
           terminate Antonio Callaway, including Callaway’s contract with the XFL and the
           costs incurred by Alpha.

Defendants therefore have agreed to produce all documents in their possession relating to the

circumstances constituting cause for Luck’s termination on this ground.

           C.     The Full Contents of Alpha’s Phone Are Central to this Issue

           Examination of the full contents of Alpha’s iPhone is central to this ground for termination

because the phone likely contains evidence of Luck’s failure to immediately terminate Callaway

in accordance with McMahon’s directive, including text messages and call logs that will be critical

to refuting Luck’s version of events in his declarations submitted with the Court.5

III.       Discovery Regarding Luck’s Violations of the XFL Technology Policies

           A.     Circumstances Constituting Cause

           Luck also violated the XFL technology policy signed and promulgated by Luck himself in

his capacity and Commissioner and CEO. Both the XFL Employee Handbook & Code of Conduct,

signed by Luck, and the XFL Technology Acceptable Use Policy provided:

           All XFL Technology is the property of the XFL. Use of such XFL Technology is
           to be used for XFL related business only; users must not store or transmit any
           non-business-related files, including but not limited to personal data such as
           documents, spreadsheets, reports, presentations, images, videos or music files,
           databases and application source code.

           5
         Aside from the documents produced by Defendants and the contents of Alpha’s phone,
the only other relevant evidence on this issue will come from witness testimony.

                                                   -14-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 16 of 40




(Ex. 7 at 15 (emphasis added); Ex. 8 at 1 (emphasis added)). Luck was issued an iPhone by Alpha

solely for use on XFL-related business.      Luck has already admitted using Alpha’s iPhone

“regularly and routinely, both for personal and work-related purposes” in “violation of XFL

policy.”6 (ECF No. 101 at 2; ECF No. 106 at 4.) Luck also has admitted that he used his iPhone

to send emails and transmit documents unrelated to the XFL’s business and to perform work for

other persons and entities while he was employed by Alpha. (Ex. 6, Alpha’s RFAs 47-52.) Luck

nevertheless has attempted to conceal the full nature and extent of his violations of the policy—

including the extent to which he used Alpha’s phone for other business purposes unrelated to the

XFL—by refusing to disclose the passcode to the iPhone and seeking to block Defendants’ access

to the full contents of the iPhone.

       B.      Defendants’ Response to Luck’s Discovery Requests

       Defendants have agreed to produce all non-privileged documents found after a reasonable

search regarding Luck’s violation of the XFL technology policies. Such documents include:

      Copies of the XFL Technology Use Policy and the XFL Employee Handbook &
       Code of Business Conduct promulgated by Luck.

      Emails in Alpha’s possession reflecting Luck’s violation of the XFL technology
       policy through use of Alpha’s phone and computers for matters unrelated to XFL
       business, including transaction of other business unrelated to the XFL.

Defendants therefore have agreed to produce all documents in their possession establishing that

Luck intentionally violated these policies. Without access to the full contents of Alpha’s iPhone,




       6
          Despite previously admitting that his conduct violated the XFL’s policy, Luck now
refuses to acknowledge in response to requests for admission that he was required to adhere to the
XFL’s technology policies. (Ex. 6, Alpha’s RFAs at 40, 42.) But the XFL’s technology policies
applied to “all employees” and Luck was indisputably an XFL employee. (Ex. 7 at 17.)

                                              -15-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 17 of 40




however, Defendants cannot establish the full nature and extent of Luck’s violations, which Luck

has consistently attempted to conceal.

       C.        The Full Contents of Alpha’s Phone Are Central to this Issue

       Defendants are entitled to access the full contents of the Alpha’s iPhone and to conduct a

complete forensic examination and analysis of those contents to show (i) the nature of Luck’s

violations of the XFL technology policy (including the range of non-XFL matters for which Luck

used the phone such as the transaction of other business unrelated to the XFL), (ii) the extent of

Luck’s violations (including the extent to which Luck used the phone for non-XFL related matters

as compared to XFL related matters), and (3) the timing of Luck’s activities (including whether

they interfered with the conduct of business for the XFL in breach of his Employment Contract).

       Forensic examination of the contents of the iPhone by Defendants and any backup copies

is also necessary to assist in determining the nature and extent to which Luck deleted relevant

evidence. As set forth in detail below, from the inception of this case, Luck’s lead Texas counsel

has repeatedly misrepresented to Defendants’ counsel, Alpha’s bankruptcy counsel, and the Court

that the full contents of the phone had been preserved and that nothing had been deleted. Contrary

to such representations, and only after entry of a court order concerning spoliation, Luck has now

admitted that contents of the phone were deleted after he was terminated and before he provided

the phone to his own expert and returned it to Alpha’s bankruptcy counsel.

     DATE                                             EVENT
 April 9, 2020      Alpha notifies Luck that his contract was being terminated for cause and asks
                    him to return the iPhone to Alpha. (ECF No. 94-2 at 2.)
 April 17, 2020     Defendants’ counsel asks Luck’s counsel about returning the iPhone to Alpha
                    and instructs Luck’s counsel to ensure that the evidence on the iPhone is
                    preserved. (Ex. 9.)
 April 20, 2020     Luck’s counsel states that he intends to discuss the return of the iPhone with
                    Alpha’s bankruptcy counsel and states: “You can rest assured that Mr. Luck
                    has taken steps to preserve evidence including texts on his phone.” (Ex. 10.)


                                               -16-
      Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 18 of 40




    DATE                                           EVENT
May 1, 2020      Luck’s counsel asks Alpha’s bankruptcy counsel whether the XFL had a
                 technology policy that prohibited personal use of the iPhone. (Ex. 11.)
May 4, 2020      Alpha’s bankruptcy counsel sends Luck’s counsel relevant portions of the
                 XFL technology policy prohibiting personal use of the iPhone and asks Luck’s
                 counsel to confirm that he would be returning the iPhone “in an unaltered
                 state.” (Ex. 11.)
May 4, 2020      Luck’s counsel ignores Alpha’s bankruptcy counsel’s request for confirmation
                 that the iPhone would be returned in an unaltered state and claims that “based
                 on the case law I’ve read, Oliver had an expectation of privacy even with the
                 policy.” (Ex. 11.) Luck’s counsel has never identified any such case law.
May 4, 2020      Defendants’ counsel also provides Luck’s counsel with the relevant portions
                 of the XFL technology policy and states: “[T]he XFL phone in the possession
                 of your client should be safeguarded against the deletion of anything on that
                 phone, including anything he considers personal. The phone itself is evidence
                 in this case which we will at the appropriate time wish to examine and have
                 examined by experts. Please act accordingly.” (Ex. 12.)
May 5, 2020      Luck’s counsel sends the iPhone to Alpha’s bankruptcy counsel by FedEx.
                 (Ex. 13.)
June 12, 2020 - Defendants’ counsel asks Luck’s counsel three separate times whether the
June 14, 2020   contents of Alpha’s iPhone were preserved without any deletions. (Ex. 14.)
June 14, 2020    After ignoring Defendants’ counsel questions, Luck’s counsel finally
                 responds: “We have preserved all contents.” (Ex. 14.)
Sept. 9, 2020    Defendants’ counsel sends a letter to Luck’s counsel requesting the passcode
                 to Alpha’s iPhone to ensure the evidence on the phone is preserved. (Ex. 15.)
Sept. 9, 2020    Luck’s counsel refuses to disclose the passcode to Alpha’s iPhone and
                 reiterates: “As I am sure you are aware, I previously advised Mr. McDevitt
                 that we have already taken a forensic image of Mr. Luck’s phone to preserve
                 its contents for litigation.” (Ex. 16.)
Sept. 17, 2020   Defendants’ counsel reiterates request for the passcode and again asks
                 “whether any data was deleted or wiped from the phone prior to [Luck’s]
                 expert making a forensic image or prior to the time the phone was returned to
                 Alpha’s bankruptcy lawyer.” (Ex. 17.)
Sept. 17, 2020   Luck’s counsel responds that he does not agree with Defendants’ position
                 regarding the passcode but does not answer the question about whether data
                 was deleted from the iPhone. (Ex. 18.)
Sept. 17, 2020   In response to further inquiries regarding the preservation of the evidence on
                 the iPhone, Luck’s counsel states: “My client has already preserved the
                 evidence. So please refrain from making specious statements.” (Ex. 19.)




                                            -17-
      Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 19 of 40




    DATE                                           EVENT
Dec. 7, 2020    Luck’s counsel writes to Defendants’ counsel: “I want to make clear for the
                record that I previously told Mr. McDevitt and/or Alpha’s bankruptcy
                counsel that Plaintiff’s counsel retained a third party expert who imaged the
                contents of the iPhone, without deletion, before it was sent to Alpha.” (Ex.
                20.)
Dec. 8, 2020    In a Joint Motion for Discovery Conference filed with the Court, Luck’s
                counsel proposes a “stipulation that Luck used the iPhone, regularly and
                routinely, both for personal and work-related purposes” in order to avoid
                disclosure of the passcode. (ECF No. 101 at 2.) Luck’s counsel further
                represents to the Court: “Luck’s counsel previously advised Defendants’
                counsel and/or Alpha’s bankruptcy counsel that it retained a third party
                expert who has already imaged the contents of Mr. Luck’s iPhone and that
                no deletions have been made.” (Id. at 6.)
Dec. 17, 2020   During a discovery conference, the Court recognizes that there could be
                “spoliation issues” to the extent that “information was deleted” from the
                iPhone. (ECF No. 125 at 14-15.) In response to such concerns, Luck’s lead
                Texas counsel claims to be the most familiar with the status of the iPhone and
                represents to the Court: “I have told opposing counsel since April that we
                have done a forensic image by a third-party expert and that all of the
                material has been maintained with no deletions.” (Id. at 12.) Luck’s counsel
                reiterates to the Court that “we have imaged the phone” and “we have done
                nothing with the contents.” (Id. at 19.) Luck’s counsel further states that
                Luck is willing to stipulate that no deletions were made to the contents of the
                phone: “And we will further agree -- and I believe we are essentially on the
                record, your Honor, so this is a representation to the Court by counsel. We
                will further agree that we did nothing to delete any emails or contents or
                texts. So the Court and opposing counsel can rest easy.” (Id. at 20.) Luck’s
                counsel makes these misrepresentations to the Court while Luck himself, an
                attorney familiar with the consequences of making false representations to the
                Court, is present for the conference. Luck does not correct his counsel’s
                misrepresentations to the Court.
Dec. 17, 2020   Based on the representations made by Luck’s counsel, the Court directs the
                parties to “submit a proposed stipulation agreement regarding any potential
                spoliation of data on Mr. Luck's Alpha-issued cellphone by December 18,
                2020.” (ECF No. 111.)




                                            -18-
      Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 20 of 40




   DATE                                            EVENT
Dec. 18, 2020   The parties do not agree on a stipulation because Luck refuses to stipulate that
                no data was deleted from the phone since receipt of his termination letter on
                April 9, 2020. To the contrary, Luck’s counsel sends Defendants’ counsel a
                proposed stipulation admitting for the first time that data was in fact deleted
                from the iPhone after receiving his termination letter and before sending it to
                Alpha’s bankruptcy counsel nearly a month later. Specifically, Luck’s
                proposed stipulation admits: (i) Luck continued to use Alpha’s iPhone “in the
                ordinary course, including to receive text messages and telephone calls” even
                after he was terminated from Alpha’s employment despite being directed to
                return the iPhone to Alpha in his termination letter, (ii) emails were deleted
                from Alpha’s iPhone and some subset may have been permanently deleted;
                and (iii) text messages were deleted from Alpha’s iPhone, including the
                contents of an entire text entire text thread (the contents of which are unknown
                to Defendants) before sending the iPhone to Alpha’s bankruptcy counsel on
                May 5, 2020. (ECF No. 114-2.)
Dec. 20, 2020   Luck’s lead Texas counsel sends an off-the-record email communication to
                the Court acknowledging his misrepresentations: “I write to apologize to you
                and opposing counsel for statements I made during the discovery conference
                held on Thursday December 18, 2020. During the hearing, I erroneously
                represented to the Court that nothing had been deleted from Mr. Luck’s
                iPhone prior to sending it to Alpha Entertainment, LLC’s bankruptcy
                counsel on May 6, 2020. Previously, I made the same representation to
                counsel for Mr. McMahon. Until the end of the hearing, I believed that
                representation of fact to be accurate in all respects.” (Ex. 21.)
Dec. 23, 2020   The Court enters the following: “Due to the parties' failure to reach an
                agreement regarding the spoliation stipulation ordered by the Court, see ECF
                No. 111, and the misrepresentations or misunderstandings of Plaintiff's
                counsel at the Discovery Conference on December 17, 2020 as to the previous
                deletion of information on the Alpha-issued cellphone, the Court orders that
                Plaintiff's counsel obtain the passcode and provide it to Defendants' counsel
                by December 24, 2020 at 12:00 p.m. in order to properly preserve the evidence
                on the cellphone while the underlying merits of the passcode issue are
                considered.” (ECF. No. 124.)
Dec. 23, 2020   Luck’s counsel provides the passcode to Alpha’s iPhone to Defendants’
                counsel.
Dec. 28, 2020   Defendants’ expert takes custody of Alpha’s iPhone from Alpha’s bankruptcy
                counsel.
Dec. 29, 2020   Defendants’ expert makes forensic images of the iPhone and its SIM card
                using standard forensic tools and processes in order to preserve the
                information on the iPhone.




                                            -19-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 21 of 40




       Although Luck’s lead Texas counsel has finally acknowledged his misrepresentations to

Defendants’ counsel and the Court, there has been no explanation for why such misrepresentations

were repeatedly made since the inception of this case. There are only three possible explanations:

(i) Luck’s counsel never even asked Luck whether any information was deleted from the phone

but represented that nothing was deleted anyway, (ii) Luck was asked by his counsel whether any

information was deleted from the phone and lied to his counsel, or (iii) Luck told his counsel that

information was deleted from the phone and his counsel simply decided to misrepresent the facts.

Although the most probable explanation is that Luck lied to his own counsel, each of these

possibilities is troubling and will be a subject for further discovery. See Hybrid Athletics, LLC v.

Hylete, Inc., No. 3:17-CV-1767, 2019 WL 6317953, at *5 (D. Conn. Nov. 26, 2019) (Bolden, J.)

(imposing spoliation sanctions where plaintiff “has not offered a sufficient excuse or explanation

for [plaintiff’s] deletion of possibly relevant e-mails”).

       Equally troubling is Luck’s attempt to minimize the significance of the misrepresentations

made to Defendants’ counsel and the Court by claiming that the information deleted from the

phone involved a “family chat” and “junk-type” emails and texts. (ECF No. 114-2.) Indeed,

Luck’s most recent attempt to trivialize these misrepresentations is his claim that “his wife, Kathy

Luck, deleted a text string” on Alpha’s iPhone because “it included pictures of their then-5 month

old granddaughter’s ‘dirty diaper.’” (Ex. 22, Alpha’s IROG 9(c).) First, the deletion of any

contents of Alpha’s iPhone raises spoliation concerns because any evidence demonstrating that

Luck used the phone for purposes unrelated to the XFL’s business establishes a violation of the

XFL’s technology policies and therefore constitutes “cause” under his Employment Contract.

Second, the fact that Luck allowed non-XFL employees, including his wife, to access the contents

on Alpha’s iPhone and to delete contents on Alpha’s iPhone demonstrates a further violation of



                                                 -20-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 22 of 40




the XFL’s policies.     Third, Luck’s text messages with his family members could contain

information about XFL matters that would be relevant to the issues in this case. Fourth, Luck’s

lengthy history of misrepresentations regarding whether any information was deleted from the

phone calls into question his current representations about the nature and extent of the deletions

that were actually made. Defendants are not required to rely on Luck’s representations regarding

the extent of those deletions and are entitled to have their expert conduct a forensic examination

and analysis of the entire contents of the phone and any backup copies in an effort to determine

whether any other improper deletions were made. Fifth, Luck’s belated admission that materials

on the phone that he considered to be personal were deleted raises the question of why Luck

continues to vigorously oppose disclosure of the remaining full contents of the phone. The only

reasonable inferences from Luck’s persistent efforts to conceal the contents of the phone from

Defendants are that the phone contains information that is fatal to his case, that even more

information was deleted than Luck now admits, or both.

       Based on Luck’s actions, Defendants reserve the right to seek spoliation sanctions against

Luck at the appropriate time following completion of a forensic examination of the phone by their

expert and development of a full record. See Hybrid Athletics, 2019 WL 6317953, at *4–5

(Bolden, J.) (imposing sanctions in the form of an adverse inference instruction at the time of trial

based on plaintiff’s spoliation of evidence by deleting possibly relevant emails); NCA Inv'rs

Liquidated Tr. v. Dimenna, No. 3:16-CV-156, 2019 WL 2720746, at *12 (D. Conn. June 27, 2019)

(Bolden, J.) (awarding attorney’s fees and costs as a sanction for plaintiff’s spoliation of evidence

by destroying documents and agreeing to consider further sanctions of an adverse jury instruction

and dismissal at a later time); Learning Care Grp, Inc. v. Armetta, 315 F.R.D. 433, 437-39, 441

(D. Conn. 2016) (Bolden, J.) (observing that evidence from a technology expert would be useful



                                                -21-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 23 of 40




in examining spoliation issue and awarding reasonable costs and attorney’s fees as a sanction for

plaintiff’s spoliation of evidence on laptop).

       D.      Luck’s Arguments for Preventing Defendants from Accessing and Reviewing
               the Full Contents of Alpha’s iPhone Lack Merit.

       Each of Luck’s arguments for resisting disclosure of the passcode to Alpha’s iPhone and

preventing Defendants from accessing and reviewing its full contents lack merit.

               1.      Luck’s Proposed Stipulation Is Insufficient

       Luck has argued that Defendants should not have access to the full contents of Alpha’s

iPhone because Luck has offered to stipulate that “Luck used the iPhone regularly and routinely,

both for personal and work-related purposes.” (ECF No. 101 at 2.) In reality, Luck’s proposed

stipulation is just another tact designed to conceal the full nature and extent of Luck’s violations

of the XFL’s technology policies and is very misleading in its connotation.

       First, Luck’s proposed stipulation that Luck used Alpha’s iPhone for “personal” purposes

in violation of the XFL’s technology policies is deliberately misleading.         Luck’s proposed

stipulation conspicuously does not admit that he used the phone to conduct business with other

entities unrelated to the XFL’s business and reads as if he only used it for XFL business and to

communicate with family members. Luck has now conceded in response to requests for admission

that he used Alpha’s iPhone to send emails, transmit documents, and perform work for other

persons or entities while he was employed by Alpha (Ex. 6, Alpha’s RFAs 50-52), but the extent

to which he used the phone to do so remains unknown.

       Second, Luck’s proposed stipulation does not admit that his use of Alpha’s iPhone for non-

XFL related purposes constituted cause under his Employment Contract. Ignoring the plain

language of the operative policies, Luck claims that his conduct merely establishes a “technical

violation of XFL policy” and “does not concede that regular and routine use of the XFL-issued


                                                 -22-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 24 of 40




iPhone constituted ‘cause’ to terminate his employment.” (ECF No. 106 at 4.) Luck’s refusal to

make such concessions shows exactly why Defendants need access to the full contents of Alpha’s

iPhone—to demonstrate the full nature and extent of Luck’s violations of XFL policy and why

they did in fact constitute cause.

               2.      Luck’s Production of Selective Contents from Alpha’s iPhone is
                       Insufficient

       Luck also has argued that Defendants should not have access to the full contents of Alpha’s

iPhone because Luck has “retained a third party expert who has already imaged the contents” and

that Luck “will provide the appropriate responsive contents of the iPhone to legitimate Requests

for Production for which there are no objections.” (ECF No. 101 at 6.)

       First, Luck’s argument is backwards—Luck should not be permitted to access and review

the full contents of Alpha’s property while simultaneously denying Alpha the right to access and

review the full contents of its own property.

       Second, Luck’s argument ignores that Defendants are entitled to have Alpha’s iPhone

forensically examined by their own expert and to review its full contents. Defendants do not have

to rely on the forensic image of Alpha’s iPhone made by Luck’s expert and are not limited to

reviewing only the selective contents from Alpha’s iPhone that Lucks deems relevant enough to

produce after certain contents have been deleted. See Fed. R. Civ. P. 34(a)(1) (authorizing a party

or its representative to “inspect, copy, test, or sample” any “electronically stored information” or

“designated tangible things”).

       Third, Luck’s argument is expressly based on the false premise that his expert “imaged the

contents of Mr. Luck’s iPhone and that no deletions have been made.” (ECF. No. 101 at 6.) Since

Luck has now admitted that there were deletions, Defendants are entitled to have their own expert




                                                -23-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 25 of 40




conduct a forensic examination and analysis of the phone’s contents and any backup copies of the

contents of that phone in an effort to determine the nature and extent of any deletions.

               3.      Luck Has No Privilege or Privacy Interest in the Contents of Alpha’s
                       iPhone

       Luck has argued that Defendants should not have access to the full contents of Alpha’s

iPhone based on vague and unsupported claims that it contains “private and confidential

materials.” (ECF No. 101 at 6-7; ECF. No. 106 at 3-4.) Luck also has erroneously argued that

Defendants should not have full access to the contents of Alpha’s iPhone because it contains

communications protected by the attorney-client privilege. (Ex. 2, Alpha’s IROG 1; Ex. 3,

McMahon’s IROG 1; Ex. 4, Alpha’s RFPs 1-2; Ex. 5, McMahon’s RFPs 1-2.)

       First, Luck has no privacy-based interest in the contents of Alpha’s iPhone because it is

owned by Alpha and is Alpha’s property—it is not Luck’s phone. The XFL technology policies

that Luck established and was responsible for enforcing make clear that Alpha could monitor the

use of XFL devices and that employees had no expectation of privacy in the use of those devices.

       All XFL Technology and the information, materials, and data produced, stored,
       transmitted or processed thereon are the property of the XFL. Employees should
       have no expectation of privacy in their use of these systems.

       All users of XFL Technology which include all employees, temporary staffing,
       freelancers and consultants are subject to auditing and monitoring by authorized
       personnel. Monitoring of such services include, but is not limited to usage of
       computer, network and systems, Internet usage, email, instant messaging, voice and
       video services, data access, storage and transmission, databases, applications and
       3rd party cloud service providers.

(Ex. 7 at 15 (emphasis added); Ex. 8 at 3 (emphasis added)).

       Luck therefore cannot claim any valid privilege or privacy interest in the contents of the

iPhone owned and issued by Alpha. Indeed. Judge Bryant has rejected similar claims of privacy




                                               -24-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 26 of 40




and privilege regarding emails on an employer’s work computer where the employer had a policy

nearly identical to the XFL’s policy:

       [Plaintiff] was aware that [defendant] had an email policy which expressly stated
       that computer files and the email system furnished to employees were company
       property, and that computer usage and files were subject to monitoring without
       exception. Plaintiff therefore had no reasonable expectation that his emails with
       his wife were confidential, and the emails therefore are not privileged. Because
       the [plaintiff’s] emails were not at their inception confidential, they were never
       privileged.

Terán v. Mut. Sec. Credit Union, No. 3:16-CV-00466, 2017 WL 11477128, at *4 (D. Conn. Sept.

29, 2017) (Bryant, J.) (emphasis added);7 Rissetto v. Clinton Essex Warren Washington Bd. of

Coop. Educ. Servs., No. 8:15-CV-720, 2018 WL 3579862, at *6 (N.D.N.Y. Jul. 25, 2018)

(“[C]ourts often hold that where there is a policy reserving for the employer’s right to search and/or

monitor computer usage and/or informing the employee that she has no reasonable expectation of

privacy, there is no reasonable expectation of privacy regardless whether the employer actually

performed monitoring of computer usage.”) (collecting cases). Indeed, despite Luck’s counsel’s

attempt to justify his delay in returning the phone to Alpha’s bankruptcy counsel based on claims

that the case law he had read supported recognition of a privacy interest in the contents of the phone

notwithstanding Alpha’s policy to the contrary, Luck has cited no such case law.


       7
          Because Luck had no reasonable expectation of confidentiality in the contents of Alpha’s
iPhone, Luck similarly cannot claim attorney-client privilege over their contents. Even if the
phone did contain privileged communications, Defendants have confirmed with their forensic
expert that any potentially privileged communications can be segregated from other contents of
the phone. Defendants also have sent a proposal to Luck that would allow him to identify and log
any privileged communications on the phone based on the forensic image of the phone that he
made before it was returned to Alpha’s bankruptcy counsel so that such communications could be
segregated. Luck’s concerns that there may be privileged communications on the phone after it
was returned to Alpha’s bankruptcy counsel are largely illusory. Defendants have confirmed with
their expert that, upon taking custody of the phone from Alpha’s bankruptcy counsel on December
28, 2020, the SIM card was removed while the phone was off, the phone was placed in a Faraday
cage to put it into airplane mode, and the phone has been stored in a secure environment without
access to any network. As a result, there should be no risk that emails sent or received from Luck’s
personal email account after May 5, 2020 would be accessible from the phone.

                                                -25-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 27 of 40




       Second, Luck is legally obligated to disclose the passcode to Alpha’s iPhone under

applicable Connecticut law. See Conn. Gen. Stat. § 31-40x(c)(1) (requiring “an employee or

applicant provide such employer with a user name and password, password or any other

authentication means for accessing” any “electronic communications device supplied or paid for,

in whole or in part, by such employer”). This statute requires Luck to disclose the passcode to the

phone because it is undisputed that (i) Luck was an employee of Alpha, (ii) Alpha was Luck’s

employer, and (iii) the phone is a device that was supplied and paid for by Alpha. Although Luck

has argued that the statute does not apply because he was terminated and is no longer Alpha’s

employee, Luck’s interpretation impermissibly adds words to the plain text of the statute—there

is nothing in the statute that limits its requirements to current employees of their current employer.

See EEOC v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 768 (2015) (rejecting interpretation

of statute that “asks us to add words to the law”). Moreover, Luck’s interpretation of the statute

would lead to absurd results. For example, it would mean that an employee is required to disclose

the passcode to an employer’s phone the day before he was terminated but not immediately after

he was terminated. It would mean that a current employee could not prevent an employer from

accessing its own phone but that a terminated employee could. It also would mean that the

common practice among employers of requiring employees to return employer-owned devices

along with their passcodes following termination would be prohibited. This Court must avoid such

a nonsensical interpretation of the statute that is contrary to its plain meaning. See Hernandez v.

Saybrook Buick GMC, Inc., No. 3:20-CV-00438, 2020 WL 7137417, at *8 (D. Conn. Dec. 4, 2020)

(Bolden, J.) (recognizing that statutes “should be interpreted in a way that avoids absurd results”

(internal quotation marks and citations omitted)).

       Third, Luck’s claim of a privacy interest in the contents of Alpha’s iPhone is further



                                                -26-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 28 of 40




undermined by his claim that “personal” text messages with his family members were deleted from

the phone before providing it to his expert or returning it to Alpha’s bankruptcy counsel. (ECF No.

114-2.) Given that these messages were already deleted, it is obvious that Luck’s position is not

motivated by some desire to protect private communications with family members.

               4.      Luck’s Argument Regarding Notice and Cure Is Improper

       Luck also has argued that Defendants should not have access to the full contents of Alpha’s

iPhone because they did not provide Luck with written notice and an opportunity to cure his

violations of the XFL technology policies before terminating him. (ECF No. 110.)

       First, Luck’s argument is an improper argument on the merits of the claims in this case

that should not be decided in the context of a discovery dispute. The merits of Luck’s argument

regarding notice and cure should be decided only after discovery is completed based on a fully

developed record. See Wells Fargo Bank, N.A. Tr. v. Konover, No. 3:05-CV-1924, 2010 WL

11561491, at *9 (D. Conn. June 22, 2010) (“However the merits of this dispute may ultimately be

resolved at trial, it cannot properly be a grounds for refusing to compel discovery concerning

allegations set forth in a complaint.”); WHS Sales Corp. v. Cinmar, L.P., No. 06 CIV. 1938, 2007

WL 486603, at *1 (S.D.N.Y. Feb. 13, 2007) (“To preclude the discovery sought by defendants

would require me to conclude that defendants’ theory has no merit” and “it will be more efficient

to permit the disputed discovery to proceed so that the record is fully developed when the matter

is presented.”). Indeed, the only case cited by Luck on this point resolved the notice and cure issue

only after a full trial on the merits. See Semac Elec. Co. v. Skanska USA Bldg. Inc., 195 Conn.

App. 695 (2020) (resolving the issue after the case was tried to the court)

       Second, Luck’s argument ignores the provisions of his Employment Contract providing

that prior written notice and an opportunity to cure is not required “[i]f the act or omission that



                                                -27-
        Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 29 of 40




would otherwise constitute Cause hereunder is not reasonably susceptible to cure.” (ECF No. 94-

1 at 3.) By contrast, the contract in the case cited by Luck contained no such provision. See Semac,

195 Conn. App. at 718 (stating that the contract in that case “expressly provided that Semac was

afforded a forty-eight hour cure period, and did not provide for any exceptions or qualifications to

that requirement”). Defendants therefore are entitled to discover the full contents of Alpha’s

iPhone to show the nature and extent of Luck’s violations of the XFL’s policies which Luck has

concealed from Defendants and to demonstrate those prior violations were “not reasonably

susceptible to cure” or that providing notice and an opportunity to cure would have been futile.

See Bernhard-Thomas Bldg. Sys, LLC v. Weitz Co., LLC, No. 3:04-CV-1317, 2011 WL 3586061,

at *6 n.4 (D. Conn. Aug. 16, 2011) (holding that strict compliance with contractual notice and cure

provision “would have been futile”); Luttinger v. Rosen, 164 Conn. 45, 47 (1972) (“The law does

not require the performance of a futile act.”).

       Third, Luck’s argument overlooks the provision of his Employment Agreement expressly

conditioning his entitlement to the payments he is seeking in this action on “the absence of

circumstances that would constitute Cause.” (ECF No. 94-1 at 3-4.) Luck therefore must establish

the absence of circumstance constituting cause to recover any additional payments regardless of

whether his violations were reasonably susceptible to cure.

               5.      Luck’s Contract Interpretation Arguments Are Improper

       Luck has asserted other baseless objections to providing Defendants with access to the full

contents of Alpha’s iPhone that depend on the merits of his interpretation of the Employment

Contract. As with his notice and cure argument, Luck’s arguments on the merits of the claims in




                                                  -28-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 30 of 40




this case should not be decided in the context of a discovery dispute. In any event, Luck’s

interpretation of the Employment Contract is incorrect.

        First, Luck erroneously contends that Defendants should not have access to the full

contents of Alpha’s iPhone because his personal use of the iPhone was not “materially and

demonstrably injurious to the interest, property, operations, business or reputation of Alpha.”

(Exs. 2-3, IROG 1; Exs. 4-5, RFPs 1-2.) But the Employment Contract makes clear that conduct

“which is materially and demonstrably injurious to the interest, property, operations, business or

reputation of Alpha” is, by definition, any of the specified grounds for cause which follow those

words. (ECF 94-1 at 3.) The clause relied upon by Luck is a non-restrictive clause that does not

limit the enumerated grounds for cause but rather describes those grounds. Accordingly, an

“intentional failure to follow any applicable XFL policies,” such as Luck’s failure to follow the

XFL technology policy, constitutes grounds for cause. (Id.)

       Second, Luck incorrectly claims that Defendants should not have access to the full contents

of Alpha’s iPhone because his personal use of the iPhone was not a “willful” act as defined in the

Employment Contract. (Exs. 2-3, IROG 1; Exs. 4-5, RFPs 1-2.) But Luck incorrectly claims that

his actions had to be “willful” as defined by the Employment Contract in order to constitute cause.

The Employment Contract provides that Luck could be terminated for cause for “willful and

intentional material misconduct in the performance of his duties or gross negligence of his duties,

including an intentional failure to follow any applicable XFL policies or directives.” (ECF No.

94-1 at 3.) The use of the word “or” indicates that this clause is disjunctive and that Luck could

be terminated for cause for either willful misconduct or gross negligence, which was specifically

defined to include a failure to follow any applicable XFL policies. Accordingly, Luck could be




                                               -29-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 31 of 40




terminated for cause for violating the XFL technology policy even if such conduct was not found

to be “willful” as defined by the Employment Contract.

       But even if the Court were to accept Luck’s erroneous interpretation of the Employment

Contract, discovery of the full contents of Alpha’s phone would be necessary to show that Luck’s

improper use of the phone was in fact “willful” as defined by the contract and was indeed conduct

“which was materially and demonstrably injurious to the interest, property, operations, business

or reputation of Alpha.” (ECF No. 94-1 at 3.) Luck cannot claim that these contractual provisions

are not satisfied while simultaneously shielding access to the evidence that shows that they are.

IV.    Discovery Regarding Luck’s Gross Neglect of His Duties After March 13, 2020

       A.      Circumstances Constituting Cause

       Alpha also properly terminated Luck for cause because he grossly neglected his duties after

March 13, 2020. After March 13, 2020, Luck effectively abandoned his responsibilities as XFL

Commissioner and CEO and returned home despite the existential threat to the league posed by

the COVID-19 pandemic. Luck has admitted leaving the XFL’s headquarters and returning home

to Indiana during this critical time period. Luck largely disengaged from the XFL’s operations,

admittedly missed important meetings held by videoconference to determine whether there was a

viable path forward for the league (Ex. 6, RFAs 57-62), and instead chose to prioritize other

business activities for other entities over the XFL in breach of his contractual obligation to “devote

substantially all of his business time to the performance of his duties to the XFL” and not to allow

other activities to “interfere with the performance of his duties to the XFL” (ECF No. 94-1 at 1).

       B.      Defendants’ Response to Luck’s Discovery Requests

       Defendants have agreed to produce all non-privileged documents found after a reasonable

search regarding Luck’s gross neglect of his duties after March 13, 2020. Such documents include:



                                                -30-
          Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 32 of 40




         Emails sent by Luck after March 13, 2020.

         Communications between Luck and McMahon after March 13, 2020.

         Documents reflecting that Luck failed to perform his duties, including his failure to attend
          XFL COVID-19 working group meetings held by video conference and weekly XFL
          business operations meetings held by Zoom and his prioritization of other business
          activities over his work for the XFL.

          Defendants therefore have agreed to produce all documents in their possession relating to

the circumstances constituting cause for Luck’s termination on this ground.

          C.     The Full Contents of Alpha’s Phone Are Central to this Issue

          Examination of the full contents of Alpha’s iPhone are central to this ground for

termination because the phone will show Luck’s activities during the critical time period after

March 13, 2020 when he was not in the office and demonstrate that he failed to “devote

substantially all of his business time to the performance of his duties to the XFL” as required by

his Employment Contract. (ECF No. 94-1 at 1.) Indeed, Luck has claimed in response to discovery

requests that he cannot produce documents regarding his work schedule and plans because they

“were recorded on the calendar that [he] had access to from my Alpha issued iPhone.” (Ex. 2,

Alpha’s IROG 4.) The fact that Luck cannot produce his schedule or calendar in response to

discovery requests because they reside on the phone that he claims Defendants cannot access just

proves exactly why Defendants require access to the phone’s contents.

IV.       Luck’s Discovery Requests Seek Disclosure of Irrelevant Information and Would
          Impose Undue Burden and Expense on Defendants

          Luck’s discovery requests attempt to distract from the narrow issues in this case by seeking

information that is wholly irrelevant to bases for his termination for cause and by attempting to

create an unnecessary burden and expense on Defendants and third parties that is entirely

disproportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1) (providing that scope of



                                                  -31-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 33 of 40




discovery is limited to non-privileged matters “relevant to any party’s claim or defense and

proportional to the needs of the case” taking into consideration “the importance of the discovery

in resolving the issues, and whether the burden or expense of the proposed discovery outweighs

its likely benefit”).   Indeed, Luck’s requests seek to unnecessarily increase the already

asymmetrical burden of discovery on Defendants in this action.

       A.      Documents Regarding Luck Unrelated To The Bases For His Termination

       Luck has improperly requested all documents relating to Luck and his performance during

his entire tenure as CEO and Commissioner of the XFL from his hiring on May 30, 2018 to his

termination on April 9, 2020. For example, Luck has requested that Defendants produce:

      All documents and communications regarding Luck (RFP 1)

      All documents regarding Luck’s performance of his duties (RFP 5)

      All documents regarding Luck’s responsibilities and authority (RFP 6)

      All communications with WWE employees or officers regarding Luck (RFP 19)

      All communications with XFL or Alpha employees regarding Luck (RFP 24)

       Luck’s requests are irrelevant and overbroad to the extent that they seek information that

is unrelated to the bases for Luck’s termination for cause—i.e., Luck’s violation of XFL policies

and McMahon’s directives and gross neglect of his duties after March 13, 2020. Luck’s overall

performance throughout his tenure as CEO is not relevant to the specific grounds for his

termination and would only serve expand the scope and increase the cost of this litigation by

unnecessarily injecting extraneous issues into this case. Moreover, Luck’s requests are unduly

burdensome because they seek to require Defendants to incur the time and expense of collecting,

searching, and producing potentially thousands of documents that are unrelated to central issue of

whether cause exists under Luck’s contract. Indeed, Luck’s position during the meet and confer



                                              -32-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 34 of 40




between the parties was that Defendants should have to search for and produce any document that

even mentions Luck’s name—no matter how trivial the reference and regardless of whether it has

any relevance to the issues in this case. Such a position is untenable and should be rejected.

       B.      Documents Regarding The Actions of McMahon and Other XFL Employees

       Luck has improperly requested documents and information regarding McMahon’s

activities for the XFL and WWE, the activities of other XFL executives, and whether other XFL

employees violated company policies and were terminated for cause. For example, Luck has

requested that Defendants provide:

      All documents regarding work done by other XFL executives after March 13, 2020
       (RFPs 7 and 11)

      All documents regarding work done by McMahon for the XFL after March 13,
       2020 (RFP 8)

      All documents regarding work done by McMahon for WWE after March 13, 2020
       (RFP 9)

      Identities of all other persons who were issued phones by Alpha or McMahon
       (IROG 1)

      Identities of all other persons who used such phones for personal matters or matters
       unrelated to the business of the XFL (IROG 2)

      Identities of all other persons who were terminated for cause and the reasons for
       their termination (IROG 3)

      Disciplinary measures taken against other XFL employees (IROG 4)

       First, Luck’s requests are improper because the activities of other XFL executives or

employees are completely irrelevant to the issue of whether Luck was properly terminated for

cause under his Employment Contract. Luck negotiated the terms of his Employment Contract

and its termination for cause provisions with Defendants. But even assuming that other XFL

employees had employment contracts with the exact same termination for cause provisions



                                               -33-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 35 of 40




contained in Luck’s Employment Contract and were not terminated for engaging in the same

conduct as Luck, Alpha would still have the legal right to terminate Luck if there was a basis to

terminate him for cause under the terms of his Employment Contract. See Bullard v. Wastequip

Mfg. Co. LLC, No. CV1401309, 2015 WL 12766467, at *24 (C.D. Cal. Apr. 14, 2015) (holding

that the fact the defendant did not terminate other employees “is irrelevant in determining whether

it terminated [plaintiff] for cause” because there is no evidence as to whether other employees “had

similar employment agreements, or whether their employment was otherwise governed by the

same definition of ‘cause’ found in the agreement” and plaintiff “cites no authority for the

proposition that because other employees were disciplined rather than terminated under similar

circumstances, [defendant] had no legal right to terminate him if ‘cause’ existed as that term is

defined in the Agreement”); Saluja v. Local 1199 United Healthcare Workers E., No. CV 06-5051,

2007 WL 3232475, at *1 (E.D.N.Y. Nov. 1, 2007) (finding that “employer’s treatment of others

is of doubtful relevance” where employer terminated an employee for just cause).

       Luck has attempted to justify such requests on the grounds that they are relevant to showing

whether his termination was pretextual. But his termination cannot be pretextual if circumstances

constituting cause under his contract exist. The Employment Contract specifically granted Alpha

the right to terminate Luck “at any time” and to terminate him for cause if any of the specified

grounds for cause existed. (ECF No. 94-1.) Moreover, a party’s motivation for terminating a

contract is irrelevant if there is a legitimate basis for termination under the contract. See Major

Oldsmobile, Inc. v. Gen. Motors Corp., No. 95-7595, 1996 WL 280452, at *3 (2d Cir. May 17,

1996) (“As long as a party has the legal right to terminate its obligation under the contract, it is

legally irrelevant whether [the party] was also motivated by reasons which would not themselves

constitute valid grounds for termination of the contract.”) (internal quotation marks and citation



                                               -34-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 36 of 40




omitted); Thomas E. Hoar, Inc. v. Sara Lee Corp., 164 F.3d 619, 619 (2d Cir. 1998) (rejecting

plaintiff’s argument that defendant was justified in terminating agreement for cause only if

plaintiff’s breach was in fact its true reason for the termination and agreeing that plaintiff’s

nonpayment provided a “reason to terminate for cause and made any allegations of other improper

motives irrelevant to a determination of good faith performance”); Grand Light & Supply Co. v.

Honeywell, Inc., 771 F.2d 672, 679 (2d Cir. 1985) (holding that “termination was proper within

the terms of the contract” regardless of motive for termination) (applying Connecticut law); ESPN,

Inc. v. Office of Comm'r of Baseball, 76 F. Supp. 2d 383, 409 (S.D.N.Y. 1999) (“There is no doubt

that motive is irrelevant to the issue of whether a nonbreaching party properly terminated a contract

where that party has established an independent legal right to terminate.”).            As Alpha’s

prejudgment remedy papers demonstrate, the evidence supporting Luck’s termination for cause

for the Callaway incident and the other specified grounds—including the documentary evidence,

the testimony of multiple witnesses, and Luck’s own admissions—is overwhelming. (ECF No.

129.) Given the strength of such evidence, it is no wonder that Luck is embarking on a fishing

expedition to discover the activities of other employees.

       Second, Luck’s requests ignore the fact that he was hired to be the CEO and Commissioner

of the XFL. Luck’s was “the senior most executive of the XFL” responsible for “all football and

business related operations” of the XFL, and all employees of the XFL reported “directly or

indirectly” to him. (ECF No. 94-1 at 1.) As its CEO and Commissioner, Luck was responsible

for enforcing the XFL’s policies and ensuring compliance with those policies. Accordingly,

Luck—not McMahon—is the one who should have knowledge of whether other XFL employees

were performing their duties and whether they were terminated or disciplined for non-compliance




                                                -35-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 37 of 40




with XFL policies and directives. If those policies were not enforced by Luck, then that would be

just another example of gross negligence in the performance of his duties.

       Third, Luck’s requests seeking discovery into McMahon’s activities for the XFL and WWE

are wholly irrelevant. McMahon was an owner—not an officer or employee—of the XFL.

McMahon hired Luck to be the CEO and Commissioner of the XFL and entrusted him with the

day-to-day management and operation of the league. Discovery into McMahon’s activities for the

XFL or WWE is irrelevant to whether cause exists under Luck’s Employment Contract. And

discovery into McMahon’s activities for WWE—an entirely different company that is not a party

to this case—is not only irrelevant but is clearly intended only to harass McMahon.

       Fourth, Luck’s requests are also unduly burdensome and disproportionate to the needs of

this case because they seek to require Defendants to incur the time and expense of collecting,

searching, and producing thousands of documents regarding the activities of McMahon and other

XFL employees that have no bearing on the issue of whether cause for termination exists under

Luck’s Employment Contract.

       C.      Documents Regarding WWE

       Luck has also improperly requested production of numerous documents regarding WWE—

an entirely different company from the XFL and a third party to this action. For example, Luck

has requested that Defendants produce:

      All documents regarding work done by McMahon for WWE after March 13, 2020
       (RFP 9)

      All communications with WWE employees or officers regarding Luck (RFP 19)

      All communications with WWE employees or officers regarding their involvement
       in the XFL (RFP 20)

      All documents advising WWE employees that they must follow the policies and
       directives of the XFL (RFP 21)


                                              -36-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 38 of 40




       Discovery into McMahon’s work for WWE or the activities of WWE employees is wholly

irrelevant to whether Luck was properly terminated for cause under his Employment Contract with

Alpha and whether there are circumstances constituting cause. Moreover, such requests are unduly

burdensome and disproportionate to the needs of the case because they seek discovery of

communications with employees of WWE—a non-party.

       D.      Documents Regarding the XFL’s Financial Performance

       Luck also has improperly requested production of numerous documents relating to the

XFL’s financial performance. For example, Luck has requested that Defendants produce:

      Documents showing the ownership composition of Alpha (RFP 25)

      All documents regarding the impact of COVID-19 on Alpha’s financial
       performance (RFP 27)

      All financial statements relating to Alpha from January 1, 2018 through April 30,
       2018 (RFP 28)

      All documents concerning any cost-cutting measures taken by Alpha during the
       period of February 1, 2020 to April 30, 2020 (RFP 29)

       Discovery into Alpha’s financial performance is also completely irrelevant to the issue of

whether cause exists under Luck’s Employment Contract and particularly irrelevant given that

Luck only seeks relief in this action from McMahon under the Guaranty. To the extent that Luck

is attempting to suggest that there was a financial motivation behind Luck’s termination for cause

or that Luck’s termination for cause was pretextual, any such claim is irrelevant for the reasons

stated above: the only relevant issue is whether there were circumstances that constituted cause

for Luck’s termination under his Employment Contract. (See Section IV.C.) In addition, the

discovery that Luck seeks would impose a wholly unnecessary discovery burden on Alpha, a




                                              -37-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 39 of 40




bankrupt entity, and relates to information that Luck can obtain from publicly available filings in

Alpha’s bankruptcy proceeding in any event.

                                        CONCLUSION

       For the reasons set forth above, the Court should sustain Defendants’ objections to Luck’s

discovery requests, overrule Luck’s objections to Defendants’ discovery requests concerning the

Alpha-owned iPhone, and order that Defendants be permitted to access and examine the full

contents of the Alpha-owned iPhone.



                                                      DEFENDANTS VINCENT K. MCMAHON
                                                      and ALPHA ENTERTAINMENT LLC

                                                      By: /s/ Jerry S. McDevitt
                                                      Jerry S. McDevitt
                                                      Curtis B. Krasik
                                                      K&L GATES LLP
                                                      K&L Gates Center
                                                      210 Sixth Avenue
                                                      Pittsburgh, PA 15222
                                                      Phone: (412) 355-6500
                                                      Fax: (412) 355-6501
                                                      Email: jerry.mcdevitt@klgates.com
                                                      Email: curtis.krasik@klgates.com

                                                      Jeffrey P. Mueller (ct27870)
                                                      DAY PITNEY LLP
                                                      242 Trumbull Street
                                                      Hartford, CT 06103
                                                      Phone: (860) 275-0100
                                                      Fax: (860) 275-0343
                                                      Email: jmueller@daypitney.com




                                               -38-
       Case 3:20-cv-00516-VAB Document 137 Filed 01/08/21 Page 40 of 40




                               CERTIFICATION OF SERVICE

        I hereby certify that, on January 8, 2021, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

                                                   /s/ Jeffrey P. Mueller
                                                  Jeffrey P. Mueller (ct27870)




                                               -39-
